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                   UNITED STATES BANKRUPTCY COURT
                      DISTRICT OF MASSACHUSETTS
 ____________________________________
                                      )
 In re                                )
       RANDAL LAMARCHE and            )
       CHRISTINE LAMARCHE             )      Chapter 7
                                      )
                         Debtors      )      Case No.18-40450
 ___________________________________ )

                        MOTION TO AMEND SCHEDULES E/F

          The debtors, Randal and Christine Lamarche, move the Court for an order
 allowing their Amended Schedules E/F. The debtors look to amend these schedules for
 the inclusion of a new creditor erroneously omitted by debtor’s counsel at the time of the
 initial filing.
          WHEREFORE, the debtorss request that the Court approve their Amended
 Schedules E/F.

                                              Respectfully submitted,
                                              RANDAL LAMARCHE and,
                                              CHRISTINE LAMARCHE,
                                              By their attorney,


                                              /s/ Danielle Callahan Gill
 Dated: July 19, 18                           ________________________
                                              Danielle Callahan Gill, BBO # 684908
                                              Callahan Law Group, LLC
                                              400 TradeCenter, Suite 5900
                                              Woburn, MA 01801
                                              617-657-3489
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                              CERTIFICATE OF SERVICE

        I, Danielle Callahan Gill, hereby certify that today, I caused to be served the
 within document on the following parties by first class, prepaid mail unless another
 delivery method is indicated.

 Jonathan R. Goldsmith, Esq.                          By ECF Service
 Office of the Chapter 7 Trustee

 Richard King, Esq.                                   By ECF Service
 Office of the US Trustee

 Randal and Christine Lamarche                        BY EMAIL

 Honda Finance Corporation
 c/o Martin A. Mooney, Esq.                           By ECF Service

 Mermiack Valley                                   Verizon
 Emergency physicians                              PO Box 15124
 PO Box 3497                                       Albany, NY 12212
 Boston, MA 02241
                                                   Verizon Wireless
 National Grid                                     Po Box 650051
 PO Box 11735                                      Dallas, TX 75265
 Newark, NJ 07101
                                                   Westlake Financial Svc
 Safety Insurance Company                          4751 Wilshire Bvld
 c/o Law Offices James H. Breen Jr                 Los Angeles, CA 90010
 14 Bobala Road
 Suite 2B                                          Comcast
 Holyoke, MA 01040                                 Xfinity mobile
                                                   PO Box 1577
 Security Credit Services                          Newark, NJ 07101
 PO Box 1156
 Oxford, MS 38655                                  Commerce Insurance Company
                                                   11 Gore Road
 Social Security Administration                    Webster, MA 01570
 300 Spring Garden Street
 Philadelphia, PA 19123                            Dynamic Recovery solutions
                                                   PO Box 25759
 Southwest Credit
 4120 International Pkwy                           First Premier Bank
 Suite 1100                                        601 S Minnesota Ave
 Carrollton, TX 75007                              Sioux Falls, SD 57104
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 James Hayes, Esq.                        American Honda Finance
 82 Otis Street                           600 Kelly Way
 Cambridge, MA 02141                      Holyoke, MA 01040

 Lease & Rental Mgmt Co                   Bank of America Merchant Services
 45 Haverhill St                          PO Box 17548
 Andover, MA 01810                        Denver, CO 80217

 Lease & Rental Mgmt Co                   Collection
 45 Haverhill St                          30 Mass. Ave
 Andover, MA 01810                        North Andover, MA 01845

 Lease & Rental Mgmt Co                   Collection
 45 Haverhill St                          2653 W Oxford Loop
 Andover, MA 01810                        Oxford, MS 38655

 Lease & Rental Mgmt Co                   Collection
 45 Haverhill St                          927 Deep Valley Dr
 Andover, MA 01810                        Palos Verdes Peninsula, CA 90274

 Lease & Rental Mgmt Co                   Collection
 45 Haverhill St                          2653 W Oxford Loop
 Andover, MA 01810                        Oxford, MS 38655

 Lease Rental                             Collection
 45 Haverhill St                          2653 W Oxford Loop
 Andover, MA 01810                        Oxford, MS 38655

 Lease Rental                             Collection
 45 Haverhill St                          8014 Bayberry Rd
 Andover, MA 01810                        Jacksonville, FL 32256

 Lease Rental                             Collection
 45 Haverhill St                          4120 International Pkwy
 Andover, MA 01810                        Carrollton, TX 75007

 Acima Credit Fka Simpl                   Collection
 9815 S Monroe St Fl 4                    8014 Bayberry Rd
 Sandy, UT 84070                          Jacksonville, FL 32256

 American Honda Finance                   Collection
 600 Kelly Way                            115 Flanders Rd Ste 140
 Holyoke, MA 01040                        Westborough, MA 01581
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 T-Mobile
 PO Box 742596
 Cincinnati, OH 45274


                                                   /s/ Danielle Callahan Gill
                                                   ________________________
                                                   Danielle Callahan Gill
